Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 1 of 10 PageID #: 1615




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                       CRIMINAL ACTION NO. 3:97-CR-00024-TBR-2


UNITED STATES OF AMERICA                                                             PLAINTIFF

v.

JAMES D. MARKS (2)                                                                 DEFENDANT


                          MEMORANDUM OPINION AND ORDER

          This matter comes before the Court upon Defendant James D. Marks’s Motion to Reduce

Sentence under 18 U.S.C. § 3582(c)(1)(A)(i). [DN 581]. The United States responded. [DN 598].

Defendant replied. [DN 609]. As such, this matter is ripe for adjudication. For the reasons stated

herein, Defendant’s Motion to Reduce Sentence under 18 U.S.C. § 3582(c)(1)(A)(i) is DENIED.

     I.      Background
          In 1998, a jury convicted Marks of six counts of aiding and abetting and six counts of

placing a life in jeopardy during a bank robbery, as well as eight counts of carrying a firearm

during a crime of violence. [DN 259; DN 598]. Marks was sentenced to a term of 1875-months

imprisonment which was later corrected and reduced to 1395 months. United States v. Marks, 209

F.3d 577, 581 (6th Cir. 2000). Marks appealed his convictions, and the Sixth Circuit affirmed the

decision of the district court. Id. [DN 361]. His petition for a writ of certiorari was denied by the

Supreme Court. [DN 369]. Marks filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 in December 2001, which was dismissed as without merit, and a

certificate of appealability was denied. [DN 399; DN 417]. In August 2004, Marks filed a motion

to dismiss the indictment or correct the illegal sentence which was transferred to the Sixth Circuit


                                                 1
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 2 of 10 PageID #: 1616




and ultimately denied. [DN 432]. In August 2013, Marks filed a motion to reopen the “Section

2255 Proceedings.” [DN 498]. The Court did not construe the motion as a § 2255 motion since

Marks had not obtained permission from the Sixth Circuit to file a second or successive § 2255

motion with respect to the constitutional arguments he raised, and the Court denied the Rule 60(b)

motion. [DN 500]. In June 2014, Marks filed additional § 2255 motions which the Sixth Circuit

denied. [DN 520; DN 542; DN 550]. Thereafter, Marks filed motions requesting the Court to

reduce his sentence which were also denied. [DN 524; DN 548]. The Defendant has now filed the

instant motion, seeking relief under 18 U.S.C. § 3582(c)(1)(A)—The First Step Act. [DN 581].

   II.      Legal Standard
         The compassionate release statute allows the Court to reduce the term of imprisonment and

impose a term of probation or supervised release under certain narrow circumstances. Section

3852(c) provides that:

         “The court may not modify a term of imprisonment once it has been imposed except that-

                (1) In any case—

                         (A) the court, upon motion of the Director of the Bureau of Prisons,
                         or upon motion of the defendant after the defendant has fully
                         exhausted all administrative rights to appeal a failure of the Bureau
                         of Prisons to bring a motion on the defendant's behalf or the lapse of
                         30 days from the receipt of such a request by the warden of the
                         defendant's facility, whichever is earlier may reduce the term of
                         imprisonment (and may impose a term of probation or supervised
                         release with or without conditions that does not exceed the unserved
                         portion of the original term of imprisonment), after considering the
                         factors set forth in section 3553(a) to the extent that they are
                         applicable, if it finds that—

                                (i)     extraordinary and compelling reasons warrant such
                                        a reduction ...”




                                                   2
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 3 of 10 PageID #: 1617




18 U.S.C.A. § 3582(c)(1)(A) (emphasis added). “The First Step Act modified the statute

concerning the compassionate release of federal prisoners, 18 U.S.C. § 3852, such that district

courts may entertain motions filed by incarcerated defendants seeking to reduce their sentences.”

United States of America v. D-1 Duwane Hayes, No. 16-20491, 2020 WL 7767946, at *1 (E.D.

Mich. Dec. 30, 2020) (citing United States v. Jones, 980 F.3d 1098, 1100 (6th Cir. 2020)). “Now,

an imprisoned person may file a motion for compassionate release after (1) exhausting the BOP's

administrative process; or (2) thirty days after the warden received the compassionate release

request—whichever is earlier.” Jones, 980 F.3d at 1105 (citing First Step Act of 2018, Pub. L.

115-391, Title VI, § 603(b), 132 Stat. 5194, 5239; 18 U.S.C. § 3582(c)(1)(A) (2020)).

       Upon satisfying the exhaustion requirement (or upon waiver by the government of this

requirement), 18 U.S.C. § 3582(c)(1)(A) requires the Court to engage in a “three-step inquiry” in

reviewing compassionate release motions. United States v. Elias, 984 F.3d 516, 518 (6th Cir. Jan.

6, 2021) (citing Jones, 980 F.3d at 1101). First, “the court must ‘find’ that ‘extraordinary and

compelling reasons warrant a sentence reduction.’” Id. (citing Jones, 980 F.3d at 1101). Second,

the court must “ensure ‘that such a reduction is consistent with applicable policy statements issued

by the Sentencing Commission.’” Id. (citing Jones, 980 F.3d at 1101). Although the Sentencing

Commission's policy statement on reductions in terms of imprisonment under 18 U.S.C.

§ 3582(c)(1)(A) is recited at U.S.S.G. § 1B1.13, “the Commission has not updated § 1B1.13 since

the First Step Act's passage in December 2018 ... [and] the policy statement does not wholly

survive the First Step Act's promulgation.” Jones, 980 F.3d at 1109 (citing U.S.S.G. § 1B1.13

(U.S. Sent'g Comm'n 2018)).

       Consequently, the Sixth Circuit in Jones decided that “[u]ntil the Sentencing Commission

updates § 1B1.13 to reflect the First Step Act, U.S. Sentencing Guideline § 1B1.13 is no longer an



                                                 3
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 4 of 10 PageID #: 1618




“applicable” policy statement in cases where an incarcerated person, as opposed to the Director of

the Bureau of Prisons, files his or her own compassionate release motion in district court. Jones,

980 F.3d at 1109. Accordingly, district courts “may skip step two of the § 3582(c)(1)(A) inquiry”

and have “full discretion ... to determine whether an ‘extraordinary and compelling’ reason

justifies compassionate release when an imprisoned person files a § 3582(c)(1)(A) motion.” Id. at

1109, 1111. Thus, for now, district courts need not ensure that their ideas of extraordinary and

compelling reasons for a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A) are consistent

with the Sentencing Commission's idea of extraordinary and compelling reasons for a reduction in

sentence under 18 U.S.C. § 3582(c)(1)(A) as currently reflected at U.S.S.G. § 1B1.13.

          After considering whether extraordinary and compelling reasons warrant a sentence

reduction, the district court proceeds to the final step of the analysis. If a sentence reduction is

warranted under steps one and two, at step three, the court is to consider whether that reduction is

defensible under the circumstances of the case by considering all relevant sentencing factors set

forth in 18 U.S.C. § 3553(a). 18 U.S.C. § 3582(c)(1)(A); Elias, 984 F.3d at 518 (citing Jones, 980

F.3d at 1101, 1108). Additionally, “district courts may deny compassionate-release motions when

any of the three prerequisites listed in § 3582(c)(1)(A) is lacking and do not need to address the

others.” Elias, 984 F.3d at 519.

   III.      Discussion

          A. Compassionate Release

                 1. Exhaustion of Administrative Remedies
          “Federal law has long authorized courts to reduce the sentences of federal prisoners facing

extraordinary health conditions and other serious hardships, but only under very limited

circumstances.” United States v. Beck, 425 F.Supp.3d. 573, No. 1:13-CR-186-6, 2019 WL


                                                   4
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 5 of 10 PageID #: 1619




2716505, at *4 (M.D.N.C. June 28, 2019). Under the First Step Act, courts are now permitted to

“consider motions by defendants for compassionate release without a motion” by the BOP Director

“so long as the defendant has asked the Director to bring such a motion and the Director fails to or

refuses.” United States v. Marshall, No. 3:19-CR-00004-JHM, 2020 WL 114437, at *1 (W.D. Ky.

Jan. 9, 2020).

       On January 25, 2020, and again on July 7, 2020, Defendant sent a request to the Warden

of his facility asking the BOP to move for a reduced sentence under 18 U.S.C. §3582(c)(1)(A).

[DN 581]. The Warden failed to respond within thirty days. Id. The Government concedes that the

administrative requirements have been met. [DN 598 at 6]. Accordingly, the Court finds that

Defendant has properly exhausted his administrative remedies under the First Step Act.

                 2. Extraordinary and Compelling Reasons
       In support of his request for compassionate release, Defendant primarily argues that (1) the

length of sentence imposed in combination with Congress’s reduced sentencing guidelines under

18 U.S.C. § 924(c), (2) his age at the time of conviction, and (3) his post-sentencing rehabilitation

and “strong family support system awaiting his release” together constitute extraordinary and

compelling reasons warranting relief. [DN 609]. Upon review, the Court finds that Defendant has

failed to establish extraordinary and compelling reasons that warrant his release under 18 U.S.C.

§ 3582(c)(1)(A). Regardless, considering the totality of Defendant’s circumstances, the Court finds

that compassionate release would not be appropriate under 18 U.S.C. § 3553(a).

       In 2018, Congress amended § 924(c) clarifying that repeat offenders are those with prior

final convictions under the same subsection, not those with a “second or subsequent conviction.”

Pub. L. No. 115-391, 132 Stat. 5194. In effect, this means that the “stacking” of sentences for

offenders without a final conviction would be reduced from twenty-five (25) years to as low as


                                                 5
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 6 of 10 PageID #: 1620




five (5) years for each count. 18 U.S.C. § 924(c). Defendant argues that these reduced penalties

create a disparity between his sentencing and what he would be sentenced if convicted today

resulting in an extraordinary and compelling justification for compassionate release. [DN 581 at

11–13].

        Defendant provided a plethora of citations, and supplemental authority, in support of this

argument, but the Court must rely on the binding case precedent provided by the Sixth Circuit. In

a series of recent cases, the Sixth Circuit has grappled with the idea of using sentencing disparities

created by statutory changes as an “extraordinary and compelling” reason for a sentence reduction

under § 3582(c)(1)(A). See United States v. Tomes, 990 F.3d 500 (6th Cir. 2021); United States v.

Jarvis, 999 F.3d 442 (6th Cir. 2021); United States v. Wills, 991 F.3d 720 (6th Cir. 2021); United

States v. Owens, 996 F.3d 755 (6th Cir. 2021);1 United States v. Hunter, No. 21-1275, 2021 WL

3855665 (6th Cir. Aug. 30, 2021). In the most recent decision by the Sixth Circuit on the matter,

the Court held that “non-retroactive statutory reforms in the First Step Act of 2018—as a matter

of law—cannot be used to find “extraordinary and compelling reasons” for a sentence reduction

under § 3582(c)(1)(A)(i).” Hunter, No. 21-1275, 2021 WL 3855665, at *5 (citing Jarvis, 999 F.3d

at 445-46; Wills, 991 F.3d at 723-24; Tomes, 990 F.3d at 505).

        Section 403 of the First Step Act prohibits retroactivity by limiting applicability to

sentences that had not yet been imposed at the time of enactment. [DN 598 at 3–4]; see also, Pub.

L. No. 115-391, 132 Stat. 5194. As is the “ordinary practice” in federal sentencing “to apply new

penalties to defendants not yet sentenced, while withholding that change from defendants already

sentenced.” Wills, 991 F.3d at 723-24 (quoting Dorsey v. United States, 567 U.S. 260, 280 (2012)).



1
 Defendant provides Owens, 996 F.3d 755 as a Supplemental Authority in Support of his Motion to Reduce
Sentence, [DN 636], but the holding, regarding statutory sentence changes, has been overruled by Hunter, No. 21-
1275, 2021 WL 3855665 at *5 n.4, which relied on two prior Sixth Circuit cases, Jarvis and Tomes.

                                                        6
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 7 of 10 PageID #: 1621




The Sixth Circuit determined that what is considered an “ordinary practice” by the Supreme Court

“cannot also be an ‘extraordinary and compelling reason’ to deviate from that practice.” Hunter,

No. 21-1275, 2021 WL 3855665, at *5 (citing Wills, 991 F.3d at 724). “Since sentencing disparities

are a natural result of the First Step Act, they are not an extraordinary and compelling reason for a

sentence reduction.” Owens, 996 F.3d at 765 (Thapar, J., dissenting). This means that courts cannot

“treat the First Step Act's non-retroactive amendments, whether by themselves or together with

other factors, as ‘extraordinary and compelling’ explanations for a sentencing reduction.” Jarvis,

999 F.3d at 445. As the Sixth Circuit has made clear, § 3582(c)(1)(A) is not “an end run around

Congress’s careful effort to limit the retroactivity of the First Step Act’s reforms.” Tomes, 990

F.3d at 505. Because Marks was sentenced in 1998, prior to the First Step Act’s reforms, and non-

retroactive statute changes cannot be considered an “extraordinary and compelling” reason,

Defendant’s sentencing disparity does not weigh in favor of a reduced sentence. [DN 305].

       Defendant further argues that his age at the time of sentencing should be a factor for

consideration in early release. [DN 581 at 17]. This argument is problematic because his age, at

the time of sentencing, was a known factor when he was sentenced. “Section 3582(c)(1)(A)

precludes a court from simply taking facts that existed at sentencing and repackaging them as

‘extraordinary and compelling.’” Hunter, No. 21-1275, 2021 WL 3855665, at *9. The Sixth Circuit

further explained, “[t]he problem with such an approach is that it renders the general rule of finality

and the extraordinary-and-compelling-reasons requirement ‘superfluous, void or insignificant.’”

Id. (citing Corley v. United States, 556 U.S. 303, 314 (2009) (internal citations omitted)). This

means that only post-sentencing factual developments that provide extraordinary and compelling

reasons specific to the defendant may be considered for compassionate release under

§ 3582(c)(1)(A) “before a court is permitted to weigh (or revisit) the § 3553(a) factors.” Id. (citing



                                                  7
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 8 of 10 PageID #: 1622




Setser v. United States, 566 U.S. 231, 243 (2012) (explaining that § 3582(c)(1)(A) is triggered by

“developments that take place after the [original] sentencing”)). Further, the court has specifically

stated that in order to receive compassionate release, the defendant must show that their “personal

circumstances” have “changed so that the district court should weigh the § 3553(a) factors

differently than it had at the original sentencing.” Id.; United States v. Navarro, 986 F.3d 668, 672

(6th Cir. 2021). Therefore, since Defendant’s age was known during the original sentencing, it

cannot now be considered an extraordinary and compelling reason to reduce his sentence.

       Finally, Defendant emphasized his post-conviction rehabilitation record and strong family

support system in support of his release. [DN 581 at 15–17]. Defendant provided a variety of letters

written on his behalf as well as proof of his completion of a vast number of educational courses.

[DN 581-1–581-6]. He has shown a true desire to improve himself in preparation for his release.

However, “rehabilitation is specifically excluded as an independent basis for compassionate

release.” United States v. Wieber, 2020 WL 1492907 *3 (W.D. Ky. March 27, 2020). The Court

applauds all the actions Marks has taken, but because he was unable to show an extraordinary and

compelling reason for release, this motion must be denied.

               3. 18 U.S.C. § 3553(a) Factors
       Considering the totality of Defendant's circumstances, and the binding Sixth Circuit

precedent, Defendant's compassionate release under 18 U.S.C. § 3582(c)(1)(A) is not warranted.

Nonetheless, even though the Court has found Defendant is not entitled to compassionate release,

the Court will weigh the sentencing factors in § 3553(a). United States v. Willis, 382 F.Supp.3d

1185, 1188 (D.N.M. 2019). Pursuant to § 3553(a), a court imposing a sentence shall consider:

       (1) the nature and circumstances of the offense and the history and characteristics
       of the defendant;

       (2) the need for the sentence imposed--

                                                 8
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 9 of 10 PageID #: 1623




               (A) to reflect the seriousness of the offense, to promote respect for the law,
               and to provide just punishment for the offense;

               (B) to afford adequate deterrence to criminal conduct;

               (C) to protect the public from further crimes of the defendant; and

               (D) to provide the defendant with needed educational or vocational training,
               medical care, or other correctional treatment in the most effective manner;

       (3) the kinds of sentences available;

       (4) the kinds of sentence and the sentencing range established for [the applicable
       offense category as set forth in the guidelines];

       (5) any pertinent policy statement ... by the Sentencing Commission;

       (6) the need to avoid unwarranted sentence disparities among defendants with
       similar records who have been found guilty of similar conduct; and

       (7) the need to provide restitution to any victims of the offense.


18 U.S.C. § 3553(a).

       In consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the Court finds

that compassionate release is not appropriate in this case. In the present case, the “nature and

circumstances” of Defendant’s crimes weigh heavily against relief. Defendant was convicted

because of his involvement in six armed robberies each of which included the use of a firearm and

the threatening of victims’ lives. [DN 301 at 8–12]. Additionally, these convictions were not his

first criminal offense. Id. at 19–22. Defendant had previously been charged with a variety of

crimes, including multiple wanton endangerment charges, discharging a weapon, trafficking a

controlled substance, and carrying a concealed weapon. Id. Though the sentencing guidelines have

since been modified, this change does not apply retroactively, and Defendant has failed to provide

an extraordinary or compelling reason to adjust his original sentence. The Court finds that releasing

Defendant after serving only approximately twenty-four (24) or his 116 year sentence would

minimize the seriousness of his crimes, fail to afford adequate deterrence to criminal conduct, and

                                                 9
Case 3:97-cr-00024-TBR Document 642 Filed 10/05/21 Page 10 of 10 PageID #: 1624




would be unjust in light of the serious nature of his crimes. Accordingly, the Court finds that the

nature and circumstances of the present offense and Defendant’s history and characteristics do not

support relief. Therefore, the Court must deny Defendant’s motion.

    IV.       Conclusion
          For the reasons state, IT IS HEREBY ORDRED that Defendant’s Motion to Reduce

Sentence under 18 U.S.C. § 3582(c)(1)(A), [DN 581], is DENIED.



          IT IS SO ORDERED.




                                                                  October 4, 2021




cc: counsel




                                                10
